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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. MJ 09-499
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   ISAIAH MANUEL CAMPBELL,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Cocaine with Intent to Distribute

15 Date of Detention Hearing:     October 1, 2009

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant is charged by Complaint with knowingly possessing five kilograms or

22 more of a mixture containing cocaine with the intent to distribute.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         (2)     Defendant’s criminal history includes two outstanding extraditable no bail

02 warrants. For that reason, defendant does not contest detention.

03         (3)     Defendant poses a risk of nonappearance due to the outstanding warrants, lack of

04 verified background information, and association with multiple identifiers. He poses a risk of

05 danger due to criminal history.

06         (4)     There does not appear to be any condition or combination of conditions that will

07 reasonably assure the defendant’s appearance at future Court hearings while addressing the

08 danger to other persons or the community.

09 It is therefore ORDERED:

10         (1)     Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16         (3)     On order of a court of the United States or on request of an attorney for the

17                 Government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20         (4)     The clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         DATED this 1st day of October, 2009.



                                             A
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03                                           Mary Alice Theiler
                                             United States Magistrate Judge
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     DETENTION ORDER                                                                15.13
     18 U.S.C. § 3142(i)                                                         Rev. 1/91
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